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                       EXHIBIT A
      Case: 1:22-cv-00125 Document #: 721-1 Filed: 07/09/24 Page 2 of 8 PageID #:16313
In re Broiler Chicken Antitrust Litigation, 80 F.4th 797 (2023)




                       80 F.4th 797                                  West Headnotes (15)
      United States Court of Appeals, Seventh Circuit.

               IN RE: BROILER CHICKEN                                [1]   Federal Courts        Costs and attorney fees
                ANTITRUST LITIGATION                                       District court's order awarding attorney fees
   End User Consumer Plaintiff Class, Plaintiff-Appellee,                  of 33% of the $181 million settlement by a
                           v.                                              class of plaintiffs with a subset of defendants
      Fieldale Farms Corporation, et al., Defendants,                      was final and thus appealable in antitrust class
        Appeal of: John Andren, Objector-Appellant.                        action alleging price fixing in the broiler chicken
                                                                           industry, where court entered a judgment as to the
                         No. 22-2889                                       settling defendants and court laid out a formula
                              |                                            for calculating amount of award. 28 U.S.C.A. §
                     Argued May 23, 2023                                   1291; Fed. R. Civ. P. 54(b).
                              |
                    Decided August 30, 2023                                More cases on this issue

Synopsis
                                                                     [2]   Federal Courts        Costs and attorney fees
Background: Purchasers of broiler chickens, including end-
user consumers, brought antitrust class action alleging price              Where an attorney fee order issues after the
fixing in the broiler chicken market. After $181 million                   resolution of the merits in a case involving
settlement of a portion of action against a subset of                      multiple parties or claims, that order is
defendants, the United States District Court for the Northern              appealable so long as it is final. 28 U.S.C.A. §
District of Illinois, Thomas M. Durkin, J., 2022 WL 6124787,               1291; Fed. R. Civ. P. 54(b).
awarded $57.4 million as attorney fees to settling plaintiffs
and declined to order additional discovery from experts.
Objector appealed.                                                   [3]   Federal Courts        Costs and attorney fees
                                                                           Interim award of attorney fees can be final for
                                                                           purposes of appeal if the district court lays out
                                                                           formula for calculating the amount of award. 28
Holdings: The Court of Appeals, Brennan, Circuit Judge,
                                                                           U.S.C.A. § 1291.
held that:

[1] interim fee award was appealable;
                                                                     [4]   Federal Courts        Costs and attorney fees
[2] district court's failure to consider bids made by class                When reviewing a class-action fee award, the
counsel in auctions in other cases was an abuse of discretion;             Court of Appeals reviews de novo whether
                                                                           the district court's legal analysis and method
[3] district court's failure to consider out-of-circuit fee awards         conformed to circuit law.
was an abuse of discretion; and

[4] remand was needed for consideration of objector's request        [5]   Costs, Fees, and Sanctions        Class actions
for additional discovery.
                                                                           Costs, Fees, and Sanctions      Customary or
                                                                           Usual Charges for Similar Services
Vacated and remanded with directions.                                      In determining fee award in a class action, a
                                                                           district court must do its best to award class
Procedural Posture(s): On Appeal; Motion for Attorney's                    counsel the market price for legal services, in
Fees; Request for Additional Discovery.                                    light of the risk of nonpayment and the normal
                                                                           rate of compensation in the market at the time.



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                                                                         District court abused its discretion in failing to
                                                                         consider bids made by class counsel in auctions
 [6]     Costs, Fees, and Sanctions        Class actions                 in other cases as part of the court's task to
                                                                         award attorney fees to class counsel in accord
         Costs, Fees, and Sanctions      Customary or
                                                                         with a hypothetical ex ante bargain, following
         Usual Charges for Similar Services
                                                                         $181 million settlement of portion of antitrust
         In determining fee award in a class action,
                                                                         class action alleging price fixing in the broiler
         a district court must estimate the terms of
                                                                         chicken industry, where court ruled that bids with
         the contract that private plaintiffs would have
                                                                         declining fee structures should categorically be
         negotiated with their lawyers, had bargaining
                                                                         given little weight based on the court's erroneous
         occurred at the outset of the case, that is, when
                                                                         view that the Court of Appeals had cast doubt on
         the risk of loss still existed.
                                                                         the consideration of declining fee scale bids in all
                                                                         cases rather than as dependent on the particulars
                                                                         of the case.
 [7]     Costs, Fees, and Sanctions        Class actions
         Costs, Fees, and Sanctions        Time Spent                    More cases on this issue
         and Rates Charged
         In determining fee award in a class action, a            [11]   Costs, Fees, and Sanctions         Class actions
         district court should recognize that its task is to             Costs, Fees, and Sanctions         Particular
         assign fees in accord with a hypothetical ex ante               amounts
         bargain, weigh the available market evidence,
                                                                         Fact that bids made by class counsel in auctions
         and assess the amount of work involved,
                                                                         in other cases were not ultimately successful or
         the risks of non-payment, and the quality of
                                                                         made by only one of the two law firms appointed
         representation.
                                                                         in the case in issue was not dispositive of whether
                                                                         bids could be considered by district court as part
                                                                         of the court's task to award attorney fees to class
 [8]     Federal Courts        Costs and attorney fees                   counsel in accord with a hypothetical ex ante
         Where the district court has followed the                       bargain, following $181 million settlement of
         appropriate methodology for determining a                       portion of antitrust class action alleging price
         class action fee award, the Court of Appeals                    fixing in the broiler chicken industry.
         reviews the fee award deferentially, for abuse of
         discretion, recognizing that the district court is              More cases on this issue
         closer to the case than the Court of Appeals is,
         and that a reasonable fee will often fall within a       [12]   Attorneys and Legal
         broad range.                                                    Services    Reasonableness in general
                                                                         District court abused its discretion in failing
                                                                         to consider out-of-circuit fee awards under a
 [9]     Federal Courts        Costs and attorney fees                   megafund rule, from the Ninth Circuit, as part
         A district court abuses its discretion as to a                  of the court's task to award attorney fees to
         class action fee award if it reaches an erroneous               class counsel in accord with a hypothetical ex
         conclusion of law, fails to explain a reduction,                ante bargain, following $181 million settlement
         or reaches a conclusion that no evidence in the                 of portion of antitrust class action alleging
         record supports as rational.                                    price fixing in the broiler chicken industry,
                                                                         even though Court of Appeals had rejected
                                                                         the application of a megafund rule; although
 [10]    Costs, Fees, and Sanctions        Class actions                 a limited number of representations in other
                                                                         markets like the Ninth Circuit could have
         Costs, Fees, and Sanctions        Particular
                                                                         suggested that fees below class counsel's market
         amounts


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         price were awarded there, counsel's continued
         participation in the market could have revealed          Attorneys and Law Firms
         something about the price for counsel's legal
                                                                  Steve W. Berman, Attorney, Hagens Berman Sobol Shapiro
         services, and therefore counsel's bargaining
                                                                  LLP, Seattle, WA, Rio S. Pierce, Breanna Van Engelen,
         position.
                                                                  Attorneys, Hagens Berman Sobol Shapiro LLP, Berkeley,
         More cases on this issue                                 CA,

                                                                  Benjamin D. Brown, Alison Sarah Deich, Brent W. Johnson,
 [13]    Costs, Fees, and Sanctions          Class actions        Daniel H. Silverman, Attorneys, Cohen Milstein Sellers &
         Costs, Fees, and Sanctions      Customary or             Toll PLLC, Washington, DC, Kevin Kamuf Green, Attorney,
         Usual Charges for Similar Services                       Hagens Berman Sobol Shapiro LLP, San Diego, CA, for
                                                                  Plaintiff-Appellee.
         When a district court determines the market rate
         as part of its task to award attorney fees to class      Michael Frank Bednarz, Attorney, Hamilton Lincoln Law
         counsel in accord with a hypothetical ex ante            Institute, Chicago, IL, Theodore H. Frank, Attorney,
         bargain, data about ex post fees awarded to class        Hamilton Lincoln Law Institute, Washington, DC, for
         counsel in other cases should receive less weight,       Objector-Appellant.
         as those prices are set at the end of the litigation,
         and therefore are less probative in assessing the        Bradley D. Justus, Attorney, Axinn, Washington, DC, for
         bargain that would have been struck ex ante.             Defendant Tyson Foods, Inc.

                                                                  Alli G. Katzen, Attorney, Weil, Gotshal & Manges LLP,
                                                                  Miami, FL, for Defendant Pilgrim's Pride Corporation.
 [14]    Federal Courts         Depositions and discovery
         Discovery rulings are reviewed for an abuse of           Boris Bershteyn, Attorney, Skadden, Arps, Slate, Meagher &
         discretion.                                              Flom LLP, New York, NY, for Defendant Peco Foods, Inc.

                                                                  Edward C. Konieczny, Attorney, Edward C. Konieczny LLC,
                                                                  Atlanta, GA, for Defendant Mar-Jac Poultry, Inc.
 [15]    Federal Courts        Determination of
         damages, costs, or interest; remittitur                  Emily M. Asp, Attorney, Stinson LLP, Minneapolis, MN, for
         Remand was needed to permit district court               Defendants George's Inc., George's Farms, Inc.
         to evaluate objector's request for additional
         discovery from experts on whose reports the              Aaron K. Block, Attorney, Block Firm LLC, Atlanta, GA, for
         court allegedly relied in resolving a post-              Defendant Fieldale Farms Corporation.
         settlement attorney fee motion in antitrust class
                                                                  Before Sykes, Chief Judge, and Brennan and Pryor, Circuit
         action arising from alleged price fixing in
                                                                  Judges.
         the broiler chicken industry, where court did
         not provide a rationale for declining to order           Opinion
         additional discovery.
                                                                  Brennan, Circuit Judge.
         More cases on this issue
                                                                   *800 Several class action lawsuits have been filed alleging
                                                                  price fixing in the broiler chicken market. In this case the
                                                                  district court awarded class counsel fees after a class of
*799 Appeal from the United States District Court for the         plaintiffs settled with a subset of defendants. Class member
Northern District of Illinois, Eastern Division. No. 16 C 8637    John Andren challenges the fee award and the district court's
— Thomas M. Durkin, Judge.                                        consideration of certain expert reports. Under our circuit's
                                                                  law, the district court's task was to award fees in accord with
                                                                  a hypothetical ex ante bargain. In doing so, the court did not
                                                                  consider bids made by class counsel in auctions in other cases



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as well as out-of-circuit fee awards. So, we vacate and remand       Turning to the second category, risk of nonpayment and
for proceedings consistent with this opinion.                        class counsel's performance, the district court observed that
                                                                     declining fee scale award structures may be appropriate
                                                                     in cases in which settlement is likely and in which the
                                                                     marginal cost of increasing the amount of recovery is low.
                                I.
                                                                     But according to the district court, settlement in a complex
This case involves three sets of plaintiffs. One class consists      antitrust case like this is not a foregone conclusion, and no
of end users, defined as persons and entities who indirectly         government investigation preceded the complaint, which may
purchased certain types of broilers from the defendants or           have aided counsel. Opposing counsel are prominent U.S.
alleged co-conspirators for personal consumption in certain          law firms, and on the motions to dismiss the district court
                                                                     termed its decision a relatively close call. The district court
jurisdictions during the class period. 1 This class settled their
                                                                     also viewed class counsel's performance to date as exemplary.
claims with a subset of the defendants for a total of $181
million, and the district court entered judgment under Federal
                                                                    As to the third category, fee awards in comparable cases,
Rule of Civil Procedure 54(b) as to the settling parties.
                                                                    the district court agreed with an expert retained by another
                                                                    class of plaintiffs that fee awards from other circuits do not
 [1] [2] [3] Class counsel was subsequently awarded one-
                                                                    attempt to capture how clients pay lawyers in markets like the
third of the settlement—excluding expenses and incentive
                                                                    Seventh Circuit. To the district court these fee awards “are
awards—amounting to $57.4 million. 2 Class member John              infected by default rules recommending smaller attorney fee
Andren challenges this fee award. 3 He argues the district          award percentages for ‘megafunds.’ ” It observed that “[t]he
court erred in discounting bids made by class counsel in            Seventh Circuit ... expressly rejected a megafund rule” in
auctions in other cases and in suggesting this court has            Synthroid I because it creates a perverse incentive. That is,
rejected the use of declining fee scale award structures. He        “[c]lients generally want to incentivize their counsel to pursue
also contends the district court erred in discounting fee awards    every last settlement dollar, and a declining percentage award
to class counsel in the Ninth Circuit. Andren further submits       operates to the contrary.” The district court thus concluded
the district court erred in crediting expert reports in setting the that “to the extent that courts in other circuits have awarded
award.                                                              percentages smaller than what Appointed Counsel seek here,
                                                                    the Court finds those awards and their reasoning relatively
In setting the fee award, the district court considered three       unpersuasive.”
categories of information: (1) actual agreements between the
parties and fee agreements reached in the market for legal          What carried more weight for the district court was the “large
services, (2) the risk of nonpayment at the outset of the           number of antitrust cases in this circuit that have awarded
case and class counsel's performance, and (3) fee awards in         one-third of the common fund as attorney's fees.” The court
comparable cases.                                                   reasoned, “[t]he fact that fee awards in antitrust cases in
                                                                     this circuit are almost always one-third is a strong indication
 *801 On the first category, the court observed that class           that this should be considered the ‘market rate.’ ” It also
counsel's agreement with the named plaintiffs did not specify        found this percentage in accord with fees that class counsel
any percentage of recovery that would be allocated toward            have been awarded in cases of similar magnitude. The court
fees. The court also acknowledged that class counsel had bid         rested this finding on data submitted by class counsel on
a declining fee scale award structure in at least three cases in     fees they have been awarded in other antitrust cases since
the past ten years. It did not give great weight to these bids       the inception of this case. The district court reviewed the
in setting the fee in part because the most recent was more          information and “discounted awards from the Ninth Circuit
than seven years old. In the district court's view, this court had   due to its megafund rule .... ” It also observed that “in large
cast doubt on whether it is appropriate to award declining fee       cases like this, the only available evidence of the ‘market rate’
scale award structures in In re Synthroid Marketing Litigation       is past awards.”
(Synthroid I), 264 F.3d 712 (7th Cir. 2001), and Silverman v.
Motorola Solutions, Inc., 739 F.3d 956 (7th Cir. 2013).               [4] [5] [6] [7] We “review de novo whether the district
                                                                     court's legal analysis and method conformed to circuit law”
                                                                     in determining a fee award. In re Stericycle Sec. Litig., 35



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F.4th 555, 559 (7th Cir. 2022). As a matter of method, “courts       2016, nearly seven years ago, so to Andren the bids were
must do their best to award counsel the market price for legal       highly probative. Class counsel responds that the district court
services, in light of the risk of nonpayment and the normal          considered the bids but properly assigned them little weight.
rate of compensation in the market at the time.” Synthroid           According to class counsel, that is because this court has
I, 264 F.3d at 718. That is, a “district court must estimate         viewed auctions with skepticism. The bids Andren refers to
the terms of the contract that *802 private plaintiffs would         were not successful, class counsel also contends, and only
have negotiated with their lawyers, had bargaining occurred          successful bids are relevant to determining what bargain
at the outset of the case (that is, when the risk of loss still      would have been struck ex ante. Further, the bids here were
existed).” Id. It should “recognize[ ] that its task was to assign   made by only one of the two law firms serving as class counsel
fees in accord with a hypothetical ex ante bargain,” “weigh[ ]       in this case.
the available market evidence,” and “assess[ ] the amount of
work involved, the risks of non-payment, and the quality of        Requiring auctions to set fee schedules ex ante and
representation.” Williams v. Rohm & Haas Pension Plan, 658         considering auction bids in awarding fees ex post are
F.3d 629, 636 (7th Cir. 2011).                                     two separate concepts. Cf. Silverman, 739 F.3d at 957–58;
                                                                   Synthroid I, 264 F.3d at 721. We have previously rejected the
 [8]      [9] Where the district court has followed the idea that district courts are required to conduct auctions at the
appropriate methodology, “[w]e review class action fee             outset of litigation to set fees. Silverman, 739 F.3d at 957–58
awards deferentially, for abuse of discretion, recognizing that    (explaining that no decision “holds that fee schedules set ex
the district court is closer to the case than we are, and that a   ante are the only lawful means to compensate class counsel
reasonable fee will often fall within a broad range.” Stericycle,  in common-fund cases”). Nevertheless, we have explained
35 F.4th at 559. But “[a] district court abuses its discretion ... that auction bids are properly considered when deciding what
if it ‘reaches an erroneous conclusion of law, fails to explain    bargain the parties would have struck ex ante. See Synthroid
a reduction or reaches a conclusion that no evidence in the        I, 264 F.3d at 721 (“[A] court can examine the bids and
record supports as rational.’ ” Id. (quoting In re Sw. Airlines    the results to see what levels of compensation attorneys are
Voucher Litig., 898 F.3d 740, 743 (7th Cir. 2018)). Because        willing to accept in competition.”). Bids that class counsel
the district court followed the appropriate methodology in         made in auctions around the time this litigation began in
determining the fee award, we review its decision for an abuse     September 2016 would ordinarily be good predictors of what
of discretion.                                                     ex ante bargain would have been negotiated.

                                                                      *803 The district court also discounted these bids, however,
                                                                     because they had declining fee scale award structures. In the
                               II.
                                                                     district court's view, this court has explained that these awards
We decide whether the district court appropriately considered        do not reflect market realities and impose a perverse incentive
what bargain would have been struck ex ante as to attorneys'         insofar as they ensure that attorneys' opportunity cost will
fees. The district court is close to this complex litigation,        exceed the benefits of seeking a larger recovery, even when
which it has done a fine job of shepherding. Still, even             the client would otherwise benefit.
under our deferential standard of review, we conclude that its
evaluation fell short in two areas: the consideration of bids        Yet, this court has never categorically rejected consideration
made by class counsel in auctions, and the weight assigned to        of bids with declining fee scale award structures. Rather,
out-of-circuit decisions.                                            the nature of the typical costs in litigation must be assessed
                                                                     in determining whether counsel and plaintiffs would have
                                                                     bargained ex ante for such a structure. Although this court
   A. Bids in Auctions                                               previously acknowledged that declining fee scale award
 [10] Andren contends that the district court should not have        structures “create declining marginal returns to legal work,”
discounted bids made by one of the two firms serving as class        this court also observed that such a fee structure can present
counsel in other cases. In his view, the bids were not too           certain advantages. Synthroid I, 264 F.3d at 721. Fees do
old because the ex ante approach to assessing fees requires          not always decline for securing a larger recovery, and in
courts to examine the bargain that would have been struck at         those instances, counsel will have an incentive to seek more.
the outset of the litigation. The litigation began in September      Id. Notably, this court awarded a declining fee scale award



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structure in In re Synthroid Marketing Litigation (Synthroid
II), 325 F.3d 974, 980 (7th Cir. 2003). And in Silverman, this
court explained that “[m]any costs of litigation do not depend           B. Out-of-Circuit Awards
on the outcome; it is almost as expensive to conduct discovery         [12] Andren also contends the district court incorrectly
in a $100 million case as in a $200 million case.” 739 F.3d           excluded fee awards to class counsel in cases within the
at 959. At least in securities litigation, we have explained          Ninth Circuit. That was mistaken, he says, because class
that “[m]uch of the expense must be devoted to determining            counsel regularly bids for appointment in the Ninth Circuit,
liability, which does not depend on the amount of damages.”           contradicting the idea that those few awards are below market
Id. Accordingly, the appropriateness of a declining fee scale         rate. Class counsel responds that the district court properly
award structure may depend on the particulars of the case.            discounted fee awards from the Ninth Circuit because “circuit
It was an abuse of discretion to rule that bids with declining        law is not homogenous” and that circuit has declined to adopt
fee structures should categorically be given little weight in         the market rate approach to calculate fee awards.

assessing fees. 4
                                                                       [13] When determining the market rate, data about ex post
                                                                      fees awarded to class counsel in other cases should receive
 [11] It is not dispositive that the bids here were not ultimately
                                                                      less weight, as those prices are set at the end of the litigation.
successful or that they were made by only one of the two
                                                                      They are therefore less probative in assessing the bargain
firms appointed in this case. In Synthroid II, we considered the
                                                                      that would have been struck ex ante. Cf. Synthroid I, 264
weight accorded to prior negotiations between class counsel
                                                                      F.3d at 719 (explaining that “only ex ante can the costs and
and plaintiffs in setting a fee award. 325 F.3d at 976–77.
                                                                      benefits of particular systems and risk multipliers be assessed
Those negotiations had occurred in response to a class's
                                                                      intelligently”).
representation that they would opt out, which was “a step
that would have prevented class counsel from recovering any
                                                                      Even so, the district court should not have categorically
fees on their account.” Id. at 977. This court observed that
                                                                      assigned less weight to Ninth Circuit cases in which counsel
“until a contract is signed—and, in class litigation, approved
by the court under Fed. R. Civ. P. 23(e)—no one is bound              was awarded fees under a megafund rule. 5 It is true that
by any of the proposed terms.” Id. The negotiations were              this court has rejected the application of a megafund rule.
therefore not probative in determining the fee award. See             See id. at 717–18. Yet continued participation in litigation
id. But this discussion in Synthroid II is distinguishable, as        in the Ninth Circuit is an economic choice that informs the
those negotiations occurred while the parties were brokering          price of class counsel's legal services and the bargain they
a settlement. See id. at 976–77. This court explained that the        may have struck. Ex post fees awarded to class counsel
negotiations were not significant in determining the ultimate         by district courts within the Ninth Circuit were set by the
fee award because they were “designed to bring closure.” Id.          court and not chosen by class counsel. But as rational actors,
at 977. That is, “class counsel may have been willing to accept       class counsel assess the risk of being awarded fees below
less than their legal entitlement in order to increase the chance     the market rate of their legal services when they seek to
that they would be paid then and there.” Id. Here, however,           represent plaintiffs in the Ninth Circuit. Although a limited
the bids were made in pursuit of appointment and reflect the          number of representations in other markets may suggest fees
price of co-class counsel's legal services in antitrust litigation.   below counsel's market price were awarded there, continued
                                                                      participation in the market may reveal something about
Other aspects of the cases in which the bids were made                the price for class counsel's legal services, and therefore
may show the bids to be poor indicators of what bargain               counsel's bargaining position. The district court should have
would have been struck ex ante. But it was error to suggest           considered where class counsel's economic behavior falls
that this court has cast doubt on *804 the consideration              on this spectrum and assigned appropriate weight to fees
of declining fee scale bids in all cases. We also reject class        awarded in out-of-circuit litigation.
counsel's suggestion that bids by one firm cannot be used to
determine the ex ante bargain that would have been struck by                                       ***
the two firms appointed here. On remand, the district court
may accord appropriate weight to these bids, recognizing that          [14]     [15] Before concluding, we address Andren's
they may be probative of the price of only one firm's legal           contention that the district court should not have relied on
services.                                                             expert reports in resolving the fee motion without permitting



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                                                                       this would place its decisions within the zone of discretion
him to obtain discovery from those experts. Discovery rulings
                                                                       to which we would defer. But given the record as considered
are reviewed for an abuse of discretion. Stericycle, 35 F.4th
                                                                       under our admittedly intricate law, the arrived-upon figure of
at 567. The district court did not provide a rationale for
                                                                       one-third of the net settlement warrants greater explanation
declining to order additional discovery, so we remand that
                                                                       and consideration of the information described above.
issue to permit the district court to evaluate Andren's request.
Cf. Dolin v. GlaxoSmithKline LLC, 951 F.3d 882, 889 (7th Cir.
                                                                       So, we VACATE the fee award and REMAND for another
2020) (explaining that a district court may abuse its discretion
                                                                       evaluation of the bargain the parties would have struck ex
by failing to exercise discretion).
                                                                       ante; we express no preference as to the amount or structure
                                                                       of the award. We also remand for consideration of the request
                                                                       for expert discovery.
                              III.

We recognize that the district court has lived with this               All Citations
complex litigation for a long *805 time. It reviewed and
considered our court's complicated law in this area, and it            80 F.4th 797
was correct to invite briefing on close questions. Ordinarily,




                                                           Footnotes


1      The second class of plaintiffs consists of direct purchasers of fresh or frozen, raw broilers from the defendants
       or their respective subsidiaries or affiliates. The third class consists of entities that purchased broilers
       indirectly from a defendant or an alleged co-conspirator in certain jurisdictions for their own use in commercial
       food preparation. All three classes are described in general terms.

2      The district court ordered a fee award in the amount of “33 percent of the settlement fund after deducting the
       expenses and incentive awards.” But the award amount of $57.4 million is actually 33.3 percent, or one-third,
       of the net settlement. Andren concedes $57.4 million was awarded. For our analysis, therefore, we consider
       one-third of the net settlement to have been awarded.

3      We have jurisdiction over this appeal. The district court entered judgment under Federal Rule of Civil
       Procedure 54(b) as to the settling defendants. Where a fee order issues after the resolution of the merits, that
       order is appealable so long as it is final. See Birchmeier v. Caribbean Cruise Line, Inc., 896 F.3d 792, 795
       (7th Cir. 2018) (citing Budinich v. Becton Dickinson & Co., 486 U.S. 196, 108 S.Ct. 1717, 100 L.Ed.2d 178
       (1988)). Even an interim award of fees can be final “if the district court lays out a formula for calculating the
       award's amount.” Id. Because that occurred here, “as a practical matter the district court is finished with the
       litigation about class counsel's fees, so the award is final for purposes of § 1291.” Birchmeier, 896 F.3d at 796.

4      The district court later acknowledged that in some cases, a declining fee scale structure may be appropriate,
       but not in this complex antitrust litigation in which settlement was not a foregone conclusion. Yet that
       evaluation was not linked to the decision to discount the auction bids.

5      A megafund rule caps fees when the recovery exceeds a given value. See Synthroid I, 264 F.3d at 718.



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